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                                                November 3, 2017

  VIA ECF

         Re:       In re: Invokana (Canagliflozin) Products Liability Litigation, MDL No. 2750
                   Master Case No. 3:16-md-2750 (BRM) (LHG)

  Dear Counsel:

         Please be advised that the following depositions have been scheduled:

  Witness                      Date/Time                     Location
  David Polidori               November 16, 2017 at 9        Hilton La Jolla Torrey Pines
                               a.m.                          Executive Board Room
                                                             10950 N. Torrey Pines Rd.
                                                             La Jolla, CA 92037.
  Brandon Porter               November 17, 2017 at 9        Hilton La Jolla Torrey Pines
                               a.m.                          Executive Board Room
                                                             10950 N. Torrey Pines Rd.
                                                             La Jolla, CA 92037.
  Jacqueline Coelln-           November 21, 2017 at 9        Drinker Biddle & Reath
  Hough                        a.m.                          105 College Road East
                                                             Princeton, NJ 08542
  Sukhdev Saran                December 5, 2017 at 9 a.m.    Drinker Biddle & Reath
                                                             600 Campus Dr.
                                                             Florham Park, NJ 07932
  Bruce Leslie                 December 8, 2017 at 9 a.m.    Drinker Biddle & Reath
                                                             105 College Road East
                                                             Princeton, NJ 08542
  Gary Meininger               December 19, 2017 at 9 a.m.   Drinker Biddle & Reath
                                                             600 Campus Dr.
                                                             Florham Park, NJ 07932

                                                Sincerely,

                                                /s Christopher A. Seeger
                                                CHRISTOPHER A. SEEGER
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